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                                           3                        IN THE UNITED STATES DISTRICT COURT
                                           4                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                  KEVIN L. PHELPS,                     )                 No. C 98-2002 MMC (PR)
                                           6                                           )
                                                             Petitioner,               )                 ORDER DENYING
                                           7                                           )                 CERTIFICATE OF
                                                    v.                                 )                 APPEALABILITY
                                           8                                           )
                                           9      EDWARD ALAMEDA,                      )
                                                                                       )
                                          10                 Respondent.               )
                                                  ____________________________________ )
For the Northern District of California




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                                                      Petitioner, a California prisoner proceeding pro se, filed the above-entitled petition for
    United States District Court




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                                               a writ of habeas corpus on May 15, 1998. On December 28, 1998 the petition was dismissed
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                                               and judgment was entered against petitioner, and, on May 22, 2000, the United States Court
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                                               of Appeals for the Ninth Circuit affirmed. Most recently, on January 9, 2007, petitioner
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                                               filed a notice of appeal from the December 11, 2006 Order denying his November 17, 2006
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                                               motion for reconsideration. A notice of appeal is construed as including a request for a
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                                               certificate of appealability pursuant to 28 U.S.C. § 2253(c) and Federal Rule of Appellate
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                                               Procedure 22(b). See United States v. Asrar, 116 F.3d 1268, 1270 (9th Cir. 1997). Petitioner
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                                               has not shown that reasonable jurists would find the district court’s denial of reconsideration
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                                               debatable or wrong. Slack v. McDaniel, 529 U.S. 473, 483 (2000). Accordingly, the request
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                                               for a certificate of appealability is DENIED.
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                                                      The Clerk shall forward this order, along with the case file, to the United States Court
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                                               of Appeals for the Ninth Circuit, from which petitioner also may seek a certificate of
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                                               appealability. See Asrar, 116 F.3d at 1270.

                                          26          IT IS SO ORDERED.

                                          27   DATED: January 18, 2007

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                                                                                  MAXINE M. CHESNEY
                                                                                  United States District Judge
